        Case 2:23-cv-00123-JKS-MAH Document 19 Filed 03/13/23 Page 1 of 2 PageID: 373




         March 13, 2023                                                   Loly Garcia Tor
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         Via ECF
         Hon. Michael A. Hammer, U.S.M.J.
         United States District Court for the District of New Jersey
         Martin Luther King Building & U.S. Courthouse
         50 Walnut Street Room 4015
         Newark, NJ 07101

         Re:         Fennec Pharmaceuticals, Inc., et al. v. Cipla Limited, et al.
                     Case No. 2:23-cv-00123-MCA-MAH

                     Pro Hac Vice Applications

         Dear Judge Hammer:

                 On behalf of Defendants Cipla Limited and Cipla USA, Inc., in the above-referenced
         action, we write to respectfully request that the Court admit Anil H. Patel, Esq., Harold Storey,
         Esq., Jenna Bruce, Esq., and Adam S. Berlin, Esq., as counsel for Defendants in this action pro
         hac vice. Plaintiffs’ counsel has consented to the pro hac vice admission of Attorneys Patel,
         Storey, Bruce, and Berlin. In support of this application, we enclose the following:

                1.      Certification of Anil H. Patel, Esq.;

                2.      Certification of Harold Storey, Esq.;

                3.      Certification of Jenna Bruce, Esq.;

                4.      Certification of Adam S. Berlin, Esq.;

                5.      Certification of Loly G. Tor in support of the pro hac vice admission of Attorneys Patel,
                        Storey, Bruce, and Berlin; and

                6.      A proposed form of order granting the application to admit Attorneys Patel, Storey,
                        Bruce, and Berlin pro hac vice in this action.




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Case 2:23-cv-00123-JKS-MAH Document 19 Filed 03/13/23 Page 2 of 2 PageID: 374




        Please do not hesitate to contact me with any questions. We appreciate Your Honor’s
attention to this matter.

Respectfully submitted,

/s/ Loly Garcia Tor

Loly Garcia Tor




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                                                                                March 13, 2023
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